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AO 442 (Rev. 11111) Arrest Warrant



                                                                  UNITED STATES DISTRICT COURT
                                                                                                                                       for the

                                                                                                                      District          of Columbia


                           United States of America
                                       v.                                                                                                  )
                                                                                                                                           )             Case No.
                                 Julian Elie Khater                                                                                        )
                                                                                                                                           )
                                                                                                                                           )
                                                                                                                                           )
                                           Defendant


                                                                                                               ARREST WARRANT
To:           Any authorized law enforcement officer


              YOU ARE COMMANDED                                                to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                   ..•ILLu..,ll.Lia
                                                               ••..•..•
                                                                   nLFL.<.I.lJ..!ie••....•.K,.bLUola"'te••. r..__                                                                                                                                 _
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment                       o     Superseding Indictment                                                        o Information                       o     Superseding Information                               11: Complaint
o     Probation Violation Petition                                            o        Supervised Release Violation Petition                                                      o Violation             Notice               0 Order of the Court

This offense is briefly described as follows:
18 U.S.C    §§ 111(a) and (b) - Assault on Federal Officer            with Dangerous               Weapon;
18 U.S.C. §§ 111(a) and (b) - Assault on Federal Officer              with Dangerous               Weapon;
18 U.S.C. §§ 111(a) and (b) - Assault on Federal Officer              with Dangerous               Weapon;
18 U.S.c.   § 372 - Conspiracy   to Injure an Officer~
18 U.S.C. § 231 (a)(3) - Civil Disorder;
18 U.S.c. § IS 12(c)(2) - Obstructing or Impeding Any Official Proceeding;
18 U.S.C. § 1752(a)(I), (2), (4), (b)(I)(A) and (b)( I)(B) - Physical violence                          on restricted      grounds,   while carrying   dangerous   weapon,   and resulting   in significant   bodily injury;
40 U.S.C.   § 5 I04(e)(2)(1) - Violent entry and disorderly          conduct,        act of physical            violence   on Capitol Grounds;     and
18 U.S.C. § 2 - Aiding and Abetting.
                                                                                                                                                                                                                 Zia M. Faruqui
                                                                                                                                                                                                                 2021.03.06 16:15:28
Date:
                                                                                                                                                                                                                 -05'00'
                       03/06/2021
                                                                                                                                                                                   Issuing officer's signature


City and state:                                    Washington, D.C.                                                                                                  Zia M. Faruqui,                     U.S. Magistrate              Judge
                                                                                                                                                                                      Printed name and title


                                                                                                                                      Return

              This warrant was received on (date)                                                      3/{,/ .20;;" I ,and                                the person was arrested on (date)
at (city and state)               1(../f?tvA-{' I< .                 ,            N           r
Date:        --:5 - ('-( -          .,;Lo.2 (
                                                                                                                                               •                                  Arresting officer's Signature


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                                                                                                                                                                                                                                                      1
                                                                                                                                                                                      Printed name and title
